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                      IN THE UNITED STATES DISTRICT COURT FOR THR
                                EASTERN DISTRICT OF VIRGINIA
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                              NORFOLK. VA
                                            Norfolk Division


   UNITED STATES OF AMERICA

           V.                                             Criminal No.2:22CRI08

   YE WANG,

           Defendant.



                                      STATEMENT OF FACTS


          The parties stipulate that the allegations in Count 3 ofthe Indictment and the following

  facts are true and correct, and that had the matter gone to trial the United States would have

  proven them beyond a reasonable doubt with competent, admissible evidence:

          1.     From in or about January 2021, and continuing up to and including May 4,2022,

  YANG GAO("GAO"), YE WANG("WANG"),and SI LIU("LIU")conspired and agreed

  together and with each other to launder monetary instruments, that is, to knowingly conduct and

  attempt to conduct financial transactions affecting interstate and foreign commerce, which

  transactions involved the proceeds ofspecified unlawful activity, that is, to use facilities in

  interstate commerce to promote prostitution, in violation of Title 18, United States Code,

  Sections 1952(a)(3)and 2, knowing that the transactions were designed in whole and in part to

  conceal and disguise the nature, location, source, ownership, and control ofthe proceeds of

  specified unlawful activity, and that while conducting and attempting to conduct such financial

  transactions, and knowing that the property involved in the financial transactions represented the

  proceeds ofsome form of unlawful activity.

         2.      GAO and LIU are married.
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         3.      The object ofthe conspiracy was for GAO, WANG,LIU and others to move and

  conceal the proceeds of a conspiracy and to promote prostitution.

         4.      During and in furtherance ofthe conspiracy, GAO, WANG,and LIU worked as

  operators or managers of illicit, unregistered massage parlors located in Virginia Beach and

  Williamsburg, which derived revenues from the prostitution offemale employees who engaged

  in sexual acts for money. GAO managed the day-to-day operations ofthe parlors, including

  collecting money obtained via commercial sex. GAO also provided transportation to women

  engaged in commercial sex and maintained the facilities, unlicensed massage parlors, utilized for

  commercial sex. WANG assisted GAO in the operation ofthe illicit commercial sex business,

  including transporting women engaged in commercial sex, bringing supplies and maintaining the

  massage parlors, and facilitating payments to women engaged in commercial sex. LIU helped

  facilitate the exploitation of women engaged in commercial sex, collected proceeds from the

  illegal activity, managed the web-based advertising ofthe illicit massage parlors, and encouraged

  women to perform sex acts by providing condoms and offering financial incentives.

         5.      Women of Asian ethnic descent were recruited online to work for GAO,WANG,

  and LIU. Female employees within the massage parlors performed sex acts for "Johns," or

  customers, in exchange for cash payments. The co-conspirators utilized skipthegames.com to

  advertise and facilitate commercial sex; along with a network ofco-conspirator phone operators,

  money collectors, and violent enforcers. Skipthegames.com is known to law enforcement as a

  website utilized to advertise and promote commercial sex.

         6.     WANG and his co-conspirators used "operator numbers" to promote prostitution.

  An "operator number" is a phone number used by the organization to schedule and facilitate

  commercial sex appointments. A commercial sex customer can call or text the operator, who will
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  direct the customer on where to go to engage in a commercial sex appointment.

          7.     The co-conspirators used multiple spa locations within the Eastern District of

  Virginia as sites for women to engage in prostitution. The initial spa locations were:(1)a spa

  located on Princess Anne Road in Virginia Beach;(2)a spa located on Euclid Road in Virginia

  Beach;(3)and a spa located on Shell Road in Virginia Beach. As the investigation progressed,

  agents subsequently located two additional illicit spa locations:(1)a spa located on Jamestown

  Road in Williamsburg; and (2)a spa located on Southgate Avenue in Virginia Beach. The

  unlicensed "business" names associated to these spa locations sometimes varied and changed

  throughout the investigation.

         8.      From Januaiy 11, 2022 through February 4, 2022, GAO,WANG,and LIU, did

  knowingly use and cause to be used, a facility in interstate and foreign commerce, namely the

  Internet, with the intent to promote, manage, establish, and carry on, and to facilitate the

  promotion, management, establishment, and carrying on ofan unlawful activity, that is

  Receiving Money from Prostitution, in violation of Title 18.2 ofthe Code ofthe Commonwealth

  of Virginia, Section 357, and Aiding Prostitution, in violation of Title 18.2 ofthe Code ofthe

  Commonwealth of Virginia, Section 348, and thereafter performed and attempted to perform an

  act to promote, manage, establish, and carry on, and to facilitate the promotion, management,

  establishment, and carrying on of such unlawful activity. LIU posted advertisements on

  skipthegames.com, including an advertisement which displayed the following: images of scantily

  clothed Asian females in provocative positions; and highlights services including, but not limited

  to:"Deep throat,""Face sitting,""Oral- without condom (BBBJ)." Detectives observed that

  this ad was posted on multiple occasions on skipthegames.com including, but not limited to; both

  January 11, 2022 at 11:56 AM;and January 13, 2022 at 9:38 AM. This advertisement listed a




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  contact phone number of(xxx) xxx-9817. The contact phone number(xxx)xxx-9817 was

  listed on multiple commercial sex advertisements throughout the course ofthe conspiracy.

         9.      During a January 26,2022, surveillance operation, members ofthe investigative

  team observed Si LIU travel to the T-Mobile store located in Virginia Beach. The investigators

  observed that Si LIU entered the store and remained inside for approximately ten minutes.

  Investigators subsequently issued a subpoena for transaction and video surveillance footage from

  that date and time period, the results of which later confirmed LIU making a payment towards

  two prepaid lines, one of which was the above-referenced operator number,(xxx)xxx-9817.

         10.     GAO,WANG,and LIU provided essential services, food and water for the

  women engaged in prostitution, who called GAO,WANG,and LIU bosses. The women

  engaged in prostitution at these massage parlors had no known local ties to the community and

  traveled with the assistance of a larger enterprise based out of Flushing, New York.

         11.     GAO,WANG,and LIU split the prostitution proceeds with the women engaged

  in prostitution. GAO, WANG,and LIU, and others traveled to the massage parlors located in

  Virginia Beach and Williamsburg to collect prostitution proceeds, and then deposited a

  percentage of profits obtained from using facilities in interstate and foreign commerce to

  promote prostitution, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2, into

  various bank accounts, including accounts held at Navy Federal Credit Union(NFCU)and Bank

  of America.


         12.     During the course ofthe conspiracy, GAO, WANG,and LIU maintained bulk

  cash proceeds marked with the names or monikers of women paid to perform sex acts at the

  massage parlors at their personal residences. It was further part ofthe conspiracy that GAO,

  WANG,and LIU deposited the cash into their own personal bank accounts and the accounts of




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  others.



            13.   GAO had a joint deposit(NFCU-0185)account and savings(NFCU-6633)

  account at NFCU with LIU. LIU had an individual deposit(NFCU-1794)and savings(NFCU-

  3813) account at NFCU. GAO had an individual deposit account at Bank of America(BOA-

  6730). WANG maintained a joint deposit account at J.P. Morgan Chase Bank(JPMC-6267)

  with his wife and an individual deposit account(BoA-0973)at Bank of America.

            14.   The defendants routinely deposited proceeds ofthe specified unlawful activities

  into the accounts.


            15.   YANG GAO and SI LIU would direct women working at the massage parlors and

  others, including relatives, to make cash deposits into GAO and LIU's accounts or into third-

  party bank accounts.

            16.   GAO,LIU and WANG made and caused to be made the following financial

  transactions, among others:

   Date             Amount                  Description

   1/20/2021        $10,000                 GAO deposited a $10,000 check into NFCU-6633.

   1/21/2021        $20,000                 GAO deposited a $20,000 cashier's check into
                                            NFCU-6633.


   7/21/2021        $5,000                  GAO deposited a $5,000 cash into NFCU-6633.

   7/21/2021        $4,000                  LIU deposited $4,000 cash into NFCU-3813.

   umimi            $5,000                  GAO deposited $5,000 cash into NFCU-0I85.

   3/2/2022         $4,000                  GAO deposited a $4,000 check from WANG's
                                            account, BOA-0973, into NFCU-6633.

  3/2/2022          $10,000                 LIU deposited $10,000 cash into NFCU-3813.
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   inm<m              $5,000                 WANG caused a $5,000 check to be deposited by
                                             GAO into NFCU-6633.

   inmoai             $3,000                 WANG caused a $3,000 check to be deposited by
                                             GAO from an account shared with his wife, T.C.,
                                             JPMC-6267, into NFCU-6633.




          17.    Money was transferred to the New York-based enterprise through a large web of

  individuals known and unknown through cash deliveries from the Eastern District of Virginia to

  the Flushing, New York area and through electronic means, including mobile banking. Money

  was paid to the co-conspirators and phone operators directly from the women working in the

  parlors and from members ofthe larger enterprise in the form of checks and electronic transfers

  to the operators.

         18.     Through undercover operations and analysis of prostitution/massage parlor ads

  obtained from the website skipthegames.com, agents identified two specific Internet Protocol

 (IP)addresses suspected of involvement in this case. Each ofthe IP addresses were respectively

  used to post the massage parlor ads previously outlined herein on skipthegames.com.

  Investigators identified that these ads each listed one ofthe two "operator" contact telephone

  numbers, either(xxx)xxx-6469 or(xxx) xxx-9817, which investigators utilized to contact

  members ofthe organization to schedule illicit massage appointments. These appointments

  were confirmed as prostitution dates through undercover operations.

         19.     Subpoenas were issued to Cox and Verizon for account information on the

  respective IP addresses. Verizon responded to one ofthe subpoenas and provided that target IP

  address 108.39.125.3 listed a customer name of Ye WANG at WANG's residential address in

  Virginia Beach, Virginia.




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         20.     Cox Communications Inc. responded and outlined that target IP address

  72.218.7.213 listed a customer name of Yang GAO at GAO and LIU's residential address in

  Norfolk, Virginia. Records list a home phone number of(xxx)xxx-9499; and business phone

  number of(xxx)xxx-8164. Records further outlined that the target IP address 72.218.7.213 has

  been assigned and leased to the aforementioned account and address since August 10,2020.

         21.     On May 4, 2022, an enforcement operation was conducted in the Eastern District

  of Virginia. Virginia Beach Police Department, along with Homeland Security Investigations

  agents and federal Task Force Officers executed seven state search warrants at three residences

  and four illicit spas locations, along with state search warrants on target bank accounts at Bank

  of America and Navy Federal Credit Union.

         22.     Regarding the search of Ye WANG's residence located in Virginia Beach;

  officers ofthe Virginia Beach Police Department executed the search warrant and detained

  WANG and his wife. WANG and his wife exited the residence and were taken into custody

  without incident. At the time of his arrest, WANG was found to be in possession ofthe cellular

  telephone assigned call number(xxx)xxx-1333. Agents noted that this is the number associated

  to the operator phone for the Jamestown Road Spa. Pursuant to a search ofthe residence, agents

  located, amongst other things; banking records, approximately $32,000 in U.S. Currency, some

  of which was wrapped and labeled with various dollar amounts and names or monikers believed

  to correspond to workers/victims at one or more ofthe spa locations, a computer, money counter,

  a large shipping box filled with condoms with GAO's name and address on an affixed shipping

  label, as well as multiple cellular telephones. Agents called the number associated with Ye

  WANG,(xxx) xxx-5690, and observed the phone ringing within the master bedroom. Officers

 located another phone within the master bedroom closet, which agents called and observed




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  ringing as well. That phone was assigned call number(xxx)xxx-6469; a number being

  geolocated pursuant to a state search warrant, which was identified as one ofthe "operator" lines

  utilized during one or more undercover operations to set up an appointment for illicit massage.

  Additionally, a 2019 Infinity QX6 was seized from WANG's residence.

         23.     Regarding the search of GAO and LIU's residence, located in Norfolk, Virginia;

  officers ofthe Virginia Beach Police Department arrested GAO and LIU upon exiting the

  residence and departing in a vehicle. Officers also detained LIU's mother and located the

  couple'sjuvenile son, who was also inside the vehicle at the time of their arrest. GAO was

  found to be in possession ofthe cellular telephone assigned call number(xxx) xxx-9499.

  Pursuant to a search ofthe residence, agents located, amongst other things; financial documents,

  leasing agreements for the illicit spa locations, approximately $57,000 in U.S. Currency, some of

  which was wrapped and labeled with various dollar amounts and at least one name or moniker

  which corresponded to a worker/victim at the spa locations; clothing matching the description of

  the shirt worn by GAO during one of the alleged robbery incidents; a money counter, and

  multiple cellular telephones. Another phone, assigned call number(xxx) xxx-9817; a number

  being geolocated pursuant to a state search warrant, which was identified as one ofthe

 "operator" lines utilized during one or more undercover operations to set up an appointment for

  illicit massage, was also located within the house. Three vehicles were seized from GAO's

 residence including: a 2019 Toyota Sienna; a 2013 Lexus RX;as well as a 2018 Subaru WRX

 STL


         24.    A search of GAO's second residence, located at in Virginia Beach, revealed that

 the home was being renovated and largely empty. Pursuant to the searches ofthe illicit

 massage parlors, located at 1309 Jamestown Road, Williamsburg; 241 Southgate Avenue,




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  Virginia Beach;4722 Princess Anne Road, Virginia Beach; and 4801 Shell Road, Virginia

  Beach; agents located, amongst other things, multiple cellular telephones, documents, condoms,

  and other items indicative of commercial sex at the various locations. Further, agents located

  Chinese National witnesses at each ofthe aforementioned spa locations.

         25.     Virginia Beach and Williamsburg are located within the Eastern District of

  Virginia.

         26.     The defendant stipulates and agrees that his participation in the events described

  was undertaken knowingly, intentionally, and unlawfully and not as a result ofan accident,

  mistake, or other innocent reason.

         27.     The defendant acknowledges that the foregoing statement of facts includes those

  facts necessary to support the plea agreement between the defendant and the United States. It

  does not describe each and every fact known to the defendant or the United States, and it is not

  intended to be a full enumeration of all ofthe facts surrounding the defendant's case, nor does it

  identify all ofthe persons with whom the defendant may have engaged in illegal activities.


                                               Respectfully submitted,

                                               JESSICA D. ABER
                                               UNITED STATES ATTORNEY



                                       By:
                                               M^g^n M.Montoya
                                               Assistant United States Attorney



                                       By:
                                               Matthew J. Heck
                                               Assistant United States Attorney




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         After consulting with my attorney and pursuant to the plea agreement entered into this day

  between the defendant, YE WANG, and the United States, I hereby stipulate that the above

  Statement ofFacts is true and accurate, and that had the matter proceeded to trial, the United States

  would have proved the same beyond a reasonable doubt.




  YE WANG



         1 am YE WANG's attorney. I have carefully reviewed the above Statement of Facts with

  him. To my knowledge, his decision to stipulate to these facts is an informed and voluntary one.




  Brian Latug^^-Eiq!
  Counsel for the Defendant




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